          Case 4:21-cv-00649 Document 1 Filed on 02/26/21 in TXSD Page 1 of 6




                                    UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

CHERYL EPHRAN-DOME,                                           §
         Plaintiff,                                           §
                                                              §
v.                                                            §                          4:21-cv-649
                                                                      CIVIL ACTION NO. _______________
                                                              §
STARBUCKS CORPORATION,                                        §
         Defendant.                                           §

                                             NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

           Now comes Defendant, Starbucks Corporation (“Starbucks”), and files this its Notice of

Removal of the present action from the 434th Judicial District Court of Fort Bend County, Texas,

where it was filed as Cause No. 21-DCV-280376 (“the State Court Action”), to the United States

District Court for the Southern District of Texas, Houston Division. As grounds for removal,

Starbucks states as follows:

                                                  I. INTRODUCTION

           1.        The present personal injury suit arises from an alleged hot drink spill that occurred

on or about November 13, 2019 at the Starbucks premises located at 3613 South Main Street,

Stafford, Fort Bend County, Texas.1 At the time of the alleged incident, Plaintiff claims that,

while sitting at a table, either a Starbucks partner or customer walked by and dropped a cup of hot

tea onto Plaintiff, thereby resulting in personal injury and other losses and/or damages.2




1
    See Plaintiff’s Original Petition ¶ IV, Exhibit “1” attached hereto.

2
    See Plaintiff’s Original Petition ¶ IV, Exhibit “1” attached hereto.
         Case 4:21-cv-00649 Document 1 Filed on 02/26/21 in TXSD Page 2 of 6




           2.       On January 28, 2021, Plaintiff filed the State Court Action naming Starbucks as

the only Defendant and asserting claims of negligence.3 As damages, Plaintiff seeks reasonable

and necessary costs of medical care and treatment in the past and future, physical pain and

suffering in the past and future, mental anguish in the past and future, physical impairment in the

past and future, loss of earnings in the past, loss of earning capacity in the future, and physical

disfigurement in the past and future.4

           3.       Pursuant 28 U.S.C. § 1446(a), all process, pleadings, and orders served on

Starbucks in the State Court Action are attached hereto.

                                             II. REMOVAL IS TIMELY

           4.       Plaintiff served Starbucks with process on February 3, 2021. 5 Pursuant to 28

U.S.C. § 1446(b)(3), Starbucks now timely files this Notice of Removal within 30 days after

service and receipt of Plaintiff’s Original Petition. Additionally, this case is being removed within

one year of commencement of the action, as required by 28 U.S.C. § 1446(c)(1).

                                          III. GROUNDS FOR REMOVAL

           5.       Removal is proper because Plaintiff and Starbucks are completely diverse and the

amount in controversy exceeds $75,000, exclusive of interest and costs. See 28 U.S.C. §

1332(a)(1).




3
    See Citation to Starbucks Corporation, Exhibits “2” & “3” attached hereto.

4
    See Plaintiff’s Original Petition ¶¶ II & V, Exhibit “1” attached hereto.

5
    See executed Citation to Starbucks Corporation, Exhibit “4” attached hereto.


                                                            -2-
          Case 4:21-cv-00649 Document 1 Filed on 02/26/21 in TXSD Page 3 of 6




A.         The Amount in Controversy Exceeds $75,000

           6.        As required by under section 28 U.S.C. 1332(a), the amount in controversy in this

litigation exceeds the sum or value of $75,000, exclusive of interest and costs. As noted in

paragraph I.2 above, Plaintiff seeks recovery for personal injuries, losses and/or damages she

alleges to have sustained and requests monetary relief over $250,000 but not more than

$1,000,000.6

B.          Complete Diversity of Citizenship Between Plaintiff and Starbucks

           7.        Complete diversity “requires that all persons on one side of the controversy be

citizens of different states than all persons on the other side.” See McLaughlin v. Mississippi Power

Co., 376 F.3d 344, 353 (5th Cir.2004); Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1079

(5th Cir. 2008). Complete diversity exists in this case between Plaintiff and Starbucks because

Plaintiff is a citizen of the State of Texas, and Starbucks is a Washington corporation, with its

principal place of business in Seattle, Washington. See 28 U.S.C. § 1332 (c)(1) (instruction “a

corporation shall be deemed to be a citizen of every State and foreign state by which it has been

incorporated and of the State or foreign state where it has its principal place of business.”). Here,

Plaintiff and Defendant are citizens of different states, thus, complete diversity of citizenship exists

between the parties. See McLaughlin, 376 F.3d at 353; Harvey, 542 F.3d at 1079.

                                               IV. VENUE IS PROPER

           8.        Venue is proper in this Court under 28 U.S.C. § 1441(a) because this district and

division embrace the location in which the removed State Court Action has been pending.




6
    See Plaintiff’s Original Petition ¶ VI, Exhibit “1” attached hereto.


                                                            -3-
       Case 4:21-cv-00649 Document 1 Filed on 02/26/21 in TXSD Page 4 of 6




Specifically, the Houston Division of the Southern District of Texas encompasses Harris County,

Texas. See 28 U.S.C. § 124(b)(3).

  V. STARBUCKS HAS COMPLIED WITH ALL PROCEDURAL REQUIREMENTS FOR REMOVAL

          9.    As required under 28 U.S.C. § 1446(a) and Local Rule 81,7 the following

documents are attached to this Notice of Removal:

                a.         Exhibit 1:   Plaintiff’s Original Petition;

                b.         Exhibit 2:   Request for Process;

                c.         Exhibit 3:   Citation;

                d.         Exhibit 4:   Notice and Return of Citation;

                e.         Exhibit 5:   Defendant’s Original Answer; and

                f.         Exhibit 6:   Docket sheet from the State Court Action.

          10.   A Notification of Removal of Civil Action will be filed with the District Clerk of

Fort Bend County, Texas as required by 28 U.S.C. § 1446(d) and served on Plaintiff’s attorney of

record.

          11.   The filing fee has been paid to the Clerk of the Court.

                                            VI. NOTICE

          12.   Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being

contemporaneously filed with the Fort Bend County District Clerk and a copy provided to counsel

of record for Plaintiff.




                                                    -4-
      Case 4:21-cv-00649 Document 1 Filed on 02/26/21 in TXSD Page 5 of 6




                                       VII. JURY DEMAND

       13.     No jury demand was made in the State Court Action.

                                VIII. CONCLUSION AND PRAYER

       14.     Starbucks represents that it has complied with the removal statutes set forth above,

and, thus, this action stands removed from the 434th Judicial District Court of Fort Bend County,

Texas to the United States District Court for the Southern District of Texas, Houston Division.

Accordingly, the filing of this notice, along with the filing of the notice in the State Court Action

and service of same upon Plaintiff’s counsel serves to immediately confer exclusive jurisdiction

of this action upon this Court and divests the state court of all jurisdiction over these proceedings

and claims.

       15.     This Notice of Removal is filed expressly subject to and without waiving any

defenses or objections to Plaintiff’s Original Petition as allowed by the Federal Rules of Civil

Procedure or by any applicable law.

                                              Respectfully submitted,

                                              SHELTON & VALADEZ, P.C.
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                                              San Antonio, Texas 78205
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                                       By:             /s/   Gayla Corley
                                              GAYLA CORLEY
                                              State Bar No. 00790505
                                              Federal ID No. 20181
                                              ATTORNEYS FOR DEFENDANT,
                                              STARBUCKS CORPORATION




                                                 -5-
      Case 4:21-cv-00649 Document 1 Filed on 02/26/21 in TXSD Page 6 of 6




                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing instrument was electronically filed with the Clerk of the
United States District Court for the Southern District of Texas, Houston Division, and that a true
and correct copy of the foregoing instrument and the documents referred to herein will be served
upon all counsel of record pursuant to ECF as to Filing Users on this the 26th day of February,
2021.


                                                      /s/   Gayla Corley
                                              GAYLA CORLEY




                                                -6-
